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                        IN THE UNITED STATES DISTRICT COURT
                        FOR THE SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION

ORACLE ELEVATOR HOLDCO, INC., §
                               §
     Plaintiff,                §
v.                             §                       CIVIL ACTION NO.
                               §                       4:19-CV-04658
EXODUS SOLUTIONS, LLC, SARAH §
LUXEMBURG, JULIA AVELLA,       §
DAVID LUXEMBURG, JOSE ALEX     §
RIVERA, ANTHONY AVELLA,        §
SHAWN AVELLA, SHAUN HICKS, and §
JOSE CHAVEZ,                   §
                               §
     Defendants.               §

               DEFENDANTS’ CERTIFICATE OF INTERESTED PERSONS

       Now comes Malinda A. Gaul, Attorney for Defendants David Luxemburg and Shaun

Hicks, in accordance with the Order to Disclose Interested Persons and certifies that this is the list

of persons and entities that are financially interested in the outcome of this litigation:

1.     Sarah Luxemburg, Defendant

2.     Julia Avella, Defendant

3.     Jose Alex Rivera, Defendant

4.     Anthony Avella, Defendant

5.     Shawn Avella, Defendant

6.     Jose Chavez, Defendant

7.     David Luxemburg, Defendant

8.     Shaun Hicks, Defendant

9.     Exodus Solutions, LLC, Defendant

10.    Oracle Elevator Holdco, Inc., Plaintiff
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11.    Oracle Elevator Holdings, LLC, parent entity of Plaintiff

12.    Rosenthal Pauerstein Sandoloski Agather LLP, Attorneys for Plaintiff

13.    Stephen K. Lecholop II, Rosenthal Pauerstein Sandoloski Agather LLP, Attorney for
       Plaintiff

14.    Kollman & Saucier, P.A., Attorneys for Plaintiff

15.    J. Garrett Wozniak, Kollman & Saucier, P.A., Attorney for Plaintiff

16.    Vincent P. Jackson, Kollman & Saucier, P.A., Attorney for Plaintiff

17.    Wilson T. Baker, PLLC, Attorneys for Defendants Sarah Luxemburg, Julia Avella, Jose
       Alex Rivera, Anthony Avella, Shawn Avella, and Jose Chavez

18.    Wilson T. Baker, Wilson T. Baker, PLLC, Attorney for Defendants Sarah Luxemburg,
       Julia Avella, Jose Alex Rivera, Anthony Avella, Shawn Avella, and Jose Chavez

19.    Gaul and Dumont, Attorneys for Defendants David Luxemburg and Shaun Hicks

20.    Malinda A. Gaul, Gaul and Dumont, Attorney for Defendants David Luxemburg and Shaun
       Hicks


                                                    Respectfully submitted,

                                                      /s/ Malinda A. Gaul______
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                                                    GAUL AND DUMONT
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                                                    Attorney-in-Charge
                                                    for Defendants David Luxemburg
                                                    and Shaun Hicks
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                               CERTIFICATE OF SERVICE

        I hereby certify on the 4th day of March, 2020, I electronically filed the above and

foregoing with the Clerk of Court using the CM/ECF system which will send notification of such

filing to:

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                                           /s/ Malinda A. Gaul_______
                                           Malinda A. Gaul
